4:24-cv-03177-SMB-MDN Doc # 64-9
Short Message Report

Conversations: 1
Total Messages: 6

Outline of Conversations

G3) +14026703834 » 6 messages on 10/2/2024

Filed: 01/31/25 Page 1of2-Page ID#1147

Participants: 2
Date Range: 10/2/2024

<4026415432> « Chrissy Howard <4026703834>

4:24-cv-03177-SMB-MDN Doc#64-9_ Filed: 01/31/25 Page 2 of 2- Page ID#1148

Messages in chronological order (times are shown in GMT +00:00)

A

CH

>

>> CH

>>>

>>>>
CH

+14026703834

Chrissy Howard <4026703834>
Hi Jim, I’m at an appt now, will call you as soon as | can.

Receipts «= <4( 15432> |R:10/2/2024, 4:55 PM

<4026415432>

cb

Receipts « Chrissy Howard <4026703834> [D: 10/2/2024, 4:55 PM]

Chrissy Howard <4026703834>

Hi Jim, please text me a contact | can call.
2 loads at McCook needing picked up. I’m assuming no drivers will be coming

Receipts * <4026415432> [R:10/2/2024, 6:42 PM}
<4026415432>

708-599-5599
419-708-0324

Receipts » Chrissy Howard <40267( i4> {D:10/2/2024, 6:45 PM}

Chrissy Howard <4026703834>
Is there a name to ask for?

Receipts * <4026415432> [R:10/2/2024, 6:46 PM

<4026415432>
Chuck

Receipts * Chrissy Howard <4026703834> [D: 10/2/2024, 6:46 PM]

10/2/2024

10/2/2024

10/2/2024

10/2/2024

10/2/2024

, 4:55 PM

, 4:55 PM

, 6:37 PM

, 6:45 PM

, 6:46 PM

